                                                                Form 1
                                            Individual Estate Property Record and Report                                                              Page: 1-1

                                                             Asset Cases
Case No.:    16-12947                                                                      Trustee Name:      (510120) Philip J. Montoya
Case Name:         LAS CRUCES COUNTRY CLUB, INC.                                           Date Filed (f) or Converted (c): 11/29/2016 (f)
                                                                                           § 341(a) Meeting Date:       01/25/2017
For Period Ending:         06/30/2020                                                      Claims Bar Date:      05/05/2017

                                       1                           2                      3                      4                   5                    6

                           Asset Description                    Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                 Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                           and Other Costs)

    1       Operating Account at First New Mexico                      455.69                   455.69                                    0.00                         FA
            Bank, xxxx
            Imported from original petition Doc# 9

    2       A/R 90 days old or less. Face amount =                Unknown                     Unknown                                     0.00                         FA
            $0. Doubt
            Imported from original petition Doc# 9

    3       Notes Receivable: Amount due on sale of            4,878,125.00              4,878,125.00                          2,200,000.00                            FA
            real est
            Imported from original petition Doc# 9

    4       See attached Exhibit A. Valuation                          756.00                   756.00                                    0.00                         FA
            Method:
            Imported from original petition Doc# 9

    5       See Exhibit A. Valuation Method:                             0.00                      0.00                                   0.00                         FA
            Imported from original petition Doc# 9

    6       Various trophys and plaques - no real                        0.00                      0.00                                   0.00                         FA
            value
            Imported from original petition Doc# 9

  INT       INTEREST (u)                                          Unknown                           N/A                              2,614.58                 Unknown

   7        Assets Totals (Excluding unknown values)          $4,879,336.69             $4,879,336.69                         $2,202,614.58                      $0.00



Major Activities Affecting Case Closing:

                                   7-30-19: Special Counsel Dan Pick is seeking reinstatement of tax free status.
                                   6.28.19 Notice Given to the Internal Revenue Service of the Deadline for Filing Objections to Chapter 7
                                   Trustee's Motion to Authorize Interim Distribution.
                                   6.6.19 Filed Motion to allow claim by Golden West. NOD filed and mailed on 6/6/19.
                                   6.3.19 TTEE Filed Motion to Authorize Interim Distribution. NOD filed mailed on 6/4/19.
                                   7-18-18 Filed Motion to Sell of all of the estates assets, specifically including, but not limited to that certain
                                   Limited Recourse Promissory Note dated 10/27/14, free and clear of liens under Section 363(f) - to CEP for
                                   $2,200,000.00 (the “Purchase Price”).
                                   5-29-18 Adversary #17-1084 Closed. Complaint dismissed
                                   10-30-17 Filed Adv. #17-01084 - against Park Ridge Properties, LLLP, LC Medical Properties, LLLP.
                                   7-24-17 - Evaluating the sale transaction.
                                   1-25-17 - Employ special counsel to pursue and collect Notes Receivable: Amounts due on sale of real
                                   estate; Investigate any possible fraudulent conveyances.



Initial Projected Date Of Final Report (TFR): 12/31/2017                        Current Projected Date Of Final Report (TFR):            08/31/2020


                        07/31/2020                                                              /s/Philip J. Montoya
                             Date                                                               Philip J. Montoya




                 Case 16-12947-j7                      Doc 279    Filed 07/31/20              Entered 07/31/20 21:18:56 Page 1 of 6
                                                            Form 2
                                                                                                                                                       Page: 2-1
                                            Cash Receipts And Disbursements Record
Case No.:              16-12947                                           Trustee Name:                      Philip J. Montoya (510120)
Case Name:             LAS CRUCES COUNTRY CLUB, INC.                      Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***9217                                         Account #:                         ******4400 Checking
For Period Ending: 06/30/2020                                             Blanket Bond (per case limit): N/A
                                                                          Separate Bond (if applicable): $1,500,000.00

    1          2                        3                                       4                                 5                     6                      7

  Trans.    Check or       Paid To / Received From        Description of Transaction            Uniform        Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                            Tran. Code        $                      $

 10/02/18                                              TCNM LLCSELLER PRO                                      2,185,145.90                                   2,185,145.90
                                                       20181002QMGFT00200 1474
              {3}      Cruces Equity Partners          Gross sales price per order filed        1129-000
                                                       9/5/18
                                                                             $2,200,000.00
                       Las Cruces Abstract and Title   Closing costs including mortgagee        2500-000
                       Las Cruces Abstract and Title   title policy premium
                                                                               -$14,854.10
 10/15/18     101      Askew & Mazell LLC              Payment of fees and expenses per                                                 45,623.59             2,139,522.31
                                                       order filed 10/12/18
                       Askew & Mazell LLC              Payment of fees per order filed          3210-000
                                                       10/12/18
                                                                               $44,177.99
                       Askew & Mazell LLC              Payment of expenses per order            3220-000
                                                       filed 10/12/18
                                                                                $1,445.60
 10/22/18     102      INTERNATIONAL SURETIES,         Payment of case bond 8/2/18 -            2300-000                                    5,464.00          2,134,058.31
                       LTD                             8/2/19 per order filed 10/18/18
 10/31/18     Int      Rabobank, N.A.                  Interest Posting                         1270-000              135.77                                  2,134,194.08
 10/31/18              Rabobank, N.A.                  Bank and Technology Services             2600-000                                    1,589.04          2,132,605.04
                                                       Fees
 11/05/18     103      Moore, Bassan & Behles          Payment of fees and expenses per                                                     5,651.15          2,126,953.89
                                                       order filed 11/5/18
                       Moore, Bassan & Behles, PC      Payment of expenses per order            3220-000
                                                       filed 11/5/18
                                                                                    $376.06
                       Moore, Bassan & Behles, PC      Payment of fees per order filed          3210-000
                                                       11/5/18
                                                                                $5,275.09
 11/30/18     Int      Rabobank, N.A.                  Interest Posting                         1270-000              175.09                                  2,127,128.98
 12/31/18     Int      Rabobank, N.A.                  Interest Posting                         1270-000              180.66                                  2,127,309.64
 01/31/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              180.68                                  2,127,490.32
 02/28/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              163.20                                  2,127,653.52
 03/31/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              180.70                                  2,127,834.22
 04/30/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              174.89                                  2,128,009.11
 05/31/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              180.73                                  2,128,189.84
 06/30/19     Int      Rabobank, N.A.                  Interest Posting                         1270-000              174.92                                  2,128,364.76
 07/22/19     104      Dan Pick, Esq.                  Payment of 75% of fees and 100%                                                      1,255.56          2,127,109.20
                                                       of expenses and tax per invoices
                                                       of May and June 2019
                       Dan Pick, Esq.                  100% of expenses from May and            3220-000
                                                       June invoices
                                                                                    $119.31
                       Dan Pick, Esq.                  75% of fees from May and June            3210-000
                                                       invoices
                                                                                $1,136.25
 07/25/19     105      NEW MEXICO TAXATION &           Distribution payment - Dividend          5800-000                                63,326.77             2,063,782.43
                       REVENUE DEPARTMENT              paid at 100.00% of $63,326.77;
                                                       Claim # 3P; Filed: $63,326.77


                                                                                           Page Subtotals:   $2,186,692.54          $122,910.11
                 Case 16-12947-j7                 Doc 279        Filed 07/31/20                 Entered 07/31/20 21:18:56 Page 2 of 6
{ } Asset Reference(s)                                                                                                         ! - transaction has not been cleared
                                                              Form 2
                                                                                                                                                       Page: 2-2
                                              Cash Receipts And Disbursements Record
Case No.:              16-12947                                             Trustee Name:                    Philip J. Montoya (510120)
Case Name:             LAS CRUCES COUNTRY CLUB, INC.                        Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***9217                                           Account #:                       ******4400 Checking
For Period Ending: 06/30/2020                                               Blanket Bond (per case limit): N/A
                                                                            Separate Bond (if applicable): $1,500,000.00

    1          2                         3                                        4                               5                     6                      7

  Trans.    Check or       Paid To / Received From          Description of Transaction           Uniform       Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                             Tran. Code       $                      $

 07/25/19     106      First Valley Realty, Inc.         Distribution payment - Dividend        7100-000                               137,235.72             1,926,546.71
                                                         paid at 68.15% of $201,385.73;
                                                         Claim # 1; Filed: $201,385.73
 07/25/19     107      SIMPSON NORTON CORP.              Distribution payment - Dividend        7100-000                                    2,009.67          1,924,537.04
                                                         paid at 68.15% of $2,949.07;
                                                         Claim # 2; Filed: $2,949.07
 07/25/19     108      New Mexico Taxation & Revenue     Distribution payment - Dividend        7100-000                                     371.89           1,924,165.15
                       Department                        paid at 68.15% of $545.73; Claim
                                                         # 3U; Filed: $545.73
 07/25/19     109      KSN ENTERPRISES                   Distribution payment - Dividend        7100-000                                      90.89           1,924,074.26
                                                         paid at 68.15% of $133.36; Claim
                                                         # 4; Filed: $133.36
 07/25/19     110      JAMES WILLIAM RIVES               Distribution payment - Dividend        7100-000                                    7,128.97          1,916,945.29
                                                         paid at 68.15% of $10,461.37;
                                                         Claim # 5; Filed: $10,461.37
 07/25/19     111      Oakriver, LLC James W. Rives      Distribution payment - Dividend        7100-000                                20,443.71             1,896,501.58
                                                         paid at 68.15% of $30,000.00;
                                                         Claim # 6; Filed: $30,000.00
 07/25/19     112      Sonoma Ranch Entities c/o         Distribution payment - Dividend        7100-000                               482,840.08             1,413,661.50
                       Joseph Cervantes, Esq             paid at 68.15% of $708,540.76;
                                                         Claim # 7; Filed: $855,080.63
 07/25/19     113      EL PASO ELECTRIC COMPANY          Distribution payment - Dividend        7100-000                                    1,092.02          1,412,569.48
                                                         paid at 68.15% of $1,602.48;
                                                         Claim # 9; Filed: $1,602.48
 07/25/19     114      Acushnet Company Attn: Kate       Distribution payment - Dividend        7100-000                                    5,654.32          1,406,915.16
                       Benner                            paid at 68.15% of $8,297.40;
                                                         Claim # 10; Filed: $8,297.40
 07/25/19     115      American Linen & Uniform Supply   Distribution payment - Dividend        7100-000                                29,805.96             1,377,109.20
                       Attn: Office/General Manager      paid at 68.15% of $43,738.58;
                                                         Claim # 11; Filed: $43,738.58
 07/31/19     Int      Rabobank, N.A.                    Interest Posting                       1270-000              178.86                                  1,377,288.06
 08/06/19     116      US Treasury                       Payment of user fee for                2990-000                                     600.00           1,376,688.06
                                                         determination letter per order doc
                                                         277
 08/31/19     Int      Rabobank, N.A.                    Interest Posting                       1270-000              119.70                                  1,376,807.76
 09/03/19     117      INTERNATIONAL SURETIES,           Payment of case bond per order         2300-000                                    2,717.00          1,374,090.76
                       LTD                               (doc249) filed 8/30/19
 09/03/19     118      Golden West Trading Co            Rent for 12/1/16 through 11/30/19      2410-000                                12,600.00             1,361,490.76
                                                         per order doc245
 09/30/19     Int      Mechanics Bank                    Interest Posting                       1270-000              112.25                                  1,361,603.01
 10/31/19     Int      Mechanics Bank                    Interest Posting                       1270-000              115.64                                  1,361,718.65
 11/21/19     119      Dan Pick                          Payment 75% fees 100% expense                                                      3,039.49          1,358,679.16
                                                         per order filed 5/15/19 doc 233
                       Dan Pick, Esq.                    100% of expenses from July and         3220-000
                                                         August invoices
                                                                                      $401.36
                       Dan Pick, Esq.                    75% fees July and August invoices      3210-000
                                                                                  $2,638.13
 11/30/19     Int      Mechanics Bank                    Interest Posting                       1270-000              111.87                                  1,358,791.03
 12/31/19     Int      Mechanics Bank                    Interest Posting                       1270-000              115.40                                  1,358,906.43
 01/23/20     120      Dan Pick, Esq.                    Final payment on fees per order        3210-000                                    1,258.12          1,357,648.31
                                                         doc# 263
 01/31/20     Int      Mechanics Bank                    Interest Posting                       1270-000              115.41                                  1,357,763.72



                                                                                           Page Subtotals:         $869.13          $706,887.84
                 Case 16-12947-j7                  Doc 279         Filed 07/31/20               Entered 07/31/20 21:18:56 Page 3 of 6
{ } Asset Reference(s)                                                                                                         ! - transaction has not been cleared
                                                              Form 2
                                                                                                                                                         Page: 2-3
                                              Cash Receipts And Disbursements Record
Case No.:              16-12947                                             Trustee Name:                    Philip J. Montoya (510120)
Case Name:             LAS CRUCES COUNTRY CLUB, INC.                        Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***9217                                           Account #:                       ******4400 Checking
For Period Ending: 06/30/2020                                               Blanket Bond (per case limit): N/A
                                                                            Separate Bond (if applicable): $1,500,000.00

    1          2                        3                                           4                             5                       6                      7

  Trans.    Check or      Paid To / Received From           Description of Transaction           Uniform       Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                             Tran. Code       $                        $

 02/05/20     121      Tom Whatley                       Payment of fees per order              3731-000                                 142,395.00             1,215,368.72
                                                         doc#268
 02/28/20     122      Steven W. Johnson                 Payment of fees per order doc269       3310-000                                      8,024.38          1,207,344.34
 02/29/20     Int      Mechanics Bank                    Interest Posting                       1270-000              107.87                                    1,207,452.21
 03/25/20     123      Golden West Trading Co            Final rent for 12/1/19 through         2410-000                                      1,400.00          1,206,052.21
                                                         3/31/20 per order doc245
 03/26/20     124      American Document Services        Document destruction expense per       2420-000                                      1,784.73          1,204,267.48
                                                         order doc273
 03/27/20     125      Askew White LLC                   Attorney for trustee Fees and                                                    10,122.31             1,194,145.17
                                                         expenses per order doc275
                       Askew & Mazell LLC                fees                                   3210-000
                                                                                    $8,757.50
                       Askew & Mazell LLC                expenses                               3220-000
                                                                                    $1,364.81
 03/31/20     Int      Mechanics Bank                    Interest Posting                       1270-000               68.11                                    1,194,213.28
 03/31/20              Mechanics Bank                    Bank and Technology Services           2600-000                                      1,078.77          1,193,134.51
                                                         Fees
 04/30/20     Int      Mechanics Bank                    Interest Posting                       1270-000               10.08                                    1,193,144.59
 05/31/20     Int      Mechanics Bank                    Interest Posting                       1270-000               10.14                                    1,193,154.73
 06/01/20     126      UNITED STATES BANKRUPTCY          Filing fee for Adv 17-01084            2700-000                                       350.00           1,192,804.73
                       COURT
 06/09/20     Int      Mechanics Bank                    Interest Posting                       1270-000                 2.61                                   1,192,807.34
 06/09/20              To Account #******4401            Transfer to DDA                        9999-000                               1,192,804.73                     2.61
 06/10/20              Mechanics Bank                    Interest posted in error               1270-000                 2.61                                           5.22
 06/11/20              Mechanics Bank                    Adjustment to correct #33              1270-000                 -2.61                                          2.61
 06/11/20              Mechanics Bank                    Adjustment to transfer interest        1270-000                 -2.61                                          0.00
                                                         earned on 06/09/2020 to account
                                                         xxxxxx4401

                                            COLUMN TOTALS                                                       2,187,757.87            2,187,757.87                   $0.00
                                                  Less: Bank Transfers/CDs                                               0.00           1,192,804.73
                                            Subtotal                                                            2,187,757.87              994,953.14
                                                  Less: Payments to Debtors                                                                       0.00

                                            NET Receipts / Disbursements                                      $2,187,757.87             $994,953.14




                 Case 16-12947-j7                  Doc 279          Filed 07/31/20              Entered 07/31/20 21:18:56 Page 4 of 6
{ } Asset Reference(s)                                                                                                           ! - transaction has not been cleared
                                                              Form 2
                                                                                                                                                      Page: 2-4
                                              Cash Receipts And Disbursements Record
Case No.:              16-12947                                              Trustee Name:                  Philip J. Montoya (510120)
Case Name:             LAS CRUCES COUNTRY CLUB, INC.                         Bank Name:                     Mechanics Bank
Taxpayer ID #:         **-***9217                                            Account #:                     ******4401 Checking
For Period Ending: 06/30/2020                                                Blanket Bond (per case limit): N/A
                                                                             Separate Bond (if applicable): $1,500,000.00

    1          2                        3                                           4                             5                     6                     7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code       $                       $

 06/09/20              To Account #xxxxxx4401              Transfer to DDA                     9999-000       1,192,804.73                                   1,192,804.73
 06/11/20              Interest Earned, transferred from   Interest Earned, transferred from   1270-000                 2.61                                 1,192,807.34
                       account xxxxxx4400                  account xxxxxx4400
 06/30/20              Mechanics Bank                      Bank and Technology Services        2600-000                                     550.00           1,192,257.34
                                                           Fees

                                            COLUMN TOTALS                                                      1,192,807.34                  550.00         $1,192,257.34
                                                  Less: Bank Transfers/CDs                                     1,192,804.73                    0.00
                                            Subtotal                                                                    2.61                 550.00
                                                  Less: Payments to Debtors                                                                    0.00

                                            NET Receipts / Disbursements                                              $2.61                 $550.00




                 Case 16-12947-j7                  Doc 279           Filed 07/31/20            Entered 07/31/20 21:18:56 Page 5 of 6
{ } Asset Reference(s)                                                                                                         ! - transaction has not been cleared
                                                       Form 2
                                                                                                                                 Page: 2-5
                                       Cash Receipts And Disbursements Record
Case No.:           16-12947                               Trustee Name:                       Philip J. Montoya (510120)
Case Name:          LAS CRUCES COUNTRY CLUB, INC.          Bank Name:                          Mechanics Bank
Taxpayer ID #:      **-***9217                             Account #:                          ******4401 Checking
For Period Ending: 06/30/2020                              Blanket Bond (per case limit): N/A
                                                           Separate Bond (if applicable): $1,500,000.00

                                       Net Receipts:      $2,187,760.48
                            Plus Gross Adjustments:         $14,854.10
                           Less Payments to Debtor:               $0.00
                 Less Other Noncompensable Items:                 $0.00

                                         Net Estate:      $2,202,614.58




                                                                                               NET                          ACCOUNT
                                 TOTAL - ALL ACCOUNTS                   NET DEPOSITS      DISBURSEMENTS                     BALANCES
                                 ******4400 Checking                        $2,187,757.87        $994,953.14                        $0.00

                                 ******4401 Checking                                   $2.61                  $550.00         $1,192,257.34

                                                                           $2,187,760.48                  $995,503.14         $1,192,257.34




                 07/31/2020                                        /s/Philip J. Montoya
                    Date                                           Philip J. Montoya




                 Case 16-12947-j7             Doc 279   Filed 07/31/20        Entered 07/31/20 21:18:56 Page 6 of 6
